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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


   DONALD J. TRUMP, in his capacity
    as former President of the United States,

                             Plaintiff,

                        v.
                                                         No. 1:21-cv-2769 (TSC)
   BENNIE G. THOMPSON, in his official
    capacity as Chairman of the Select
    Committee to Investigate the January 6th
    Attack on the United States Capitol, United
    States House of Representatives, et al.,

                             Defendants.



                                  PROPOSED ORDER
         Having considered NARA Defendants Unopposed Nunc Pro Tunc Motion for a 30-

Minute Extension of Time, ECF No. 5, and the oppositions thereto, it is hereby

         ORDERED that Plaintiff’s Motion is GRANTED

         SO ORDERED.


Dated:                                    ___________________
                                          Hon. Tanya S. Chutkan
                                          United States District Judge
